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                              UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF CALIFORNIA

                                      OAKLAND DIVISION



LARRY GOLDEN,                             )      Case No. 4:22-cv-05246-HSG
                                          )
   Plaintiff,                             )      OPPOSITION TO PLAINTIFF’S
                                          )      CROSS-MOTION FOR SUMMARY
v.                                        )      JUDGMENT BY DEFENDANT
                                          )      GOOGLE LLC
GOOGLE LLC,                               )
                                          )      Date:    unnoticed by plaintiff
   Defendant.                             )      Time:    unnoticed by plaintiff
                                          )      Place:   unnoticed by plaintiff
_________________________________________ )      Judge:   Hon. Haywood S. Gilliam, Jr.




                                                              Case No. 4:22-cv-05246-HSG
                        OPPOSITION TO CROSS-MOTION FOR SUMMARY JUDGMENT BY GOOGLE LLC
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                                            INTRODUCTION

       Plaintiff’s motion for summary judgment fails because it does not establish any material facts, let

alone that they are undisputed. The motion does not even scrape the surface of the plaintiff’s burden of

production under the Federal Rules and well-established precedent. Because the plaintiff has not

provided any evidence to support his assertion that the material facts in this case are undisputed, this

court should deny his motion entirely.

                                            BACKGROUND

        On September 14, 2022, plaintiff Larry Golden filed this action, alleging that Google products—

specifically, Google Pixel smartphone devices—infringe United States Patent Nos. 9,096,189,

9,589,439, and 10,163,287. See generally Compl. On October 26, 2022, Google moved to dismiss the

complaint, because Mr. Golden alleges not that Google sells infringing Pixel devices, but that someone

else could modify Google’s Pixel devices, by adding non-Google software, to make them allegedly

infringing. See Docket No. 11 § D, I-III.

       On November 1, 2022, Mr. Golden filed “Plaintiff’s Response to Defendant’s Motion to Dismiss

and Cross-Motion for Summary Judgement.” Docket No. 18 at 1. Mr. Golden’s response does not

address Google’s arguments, but contends that Google is barred from raising any defense at all. See id.

Mr. Golden’s “Cross-Motion for Summary Judgement” spans one paragraph:
       Plaintiff has shown that there is no genuine dispute as to any material fact; no reason to challenge
       Plaintiff’s direct, joint, or contributory infringement claims; no genuine dispute that Plaintiff
       owns the patent rights for the smartphone; no genuine dispute as to the validity of Plaintiff’s
       patents; and, no genuine dispute to the Federal Circuit’s decisions made in this case. This case is
       ripe for summary judgement, and Plaintiff is entitled to judgment as a matter of law.

Id. at 6.1 Mr. Golden attaches three documents to his cross-motion: the Report and Recommendation

recommending dismissal of Golden v. Google, No. 21-244, Docket No. 17 (D.S.C. Apr. 9, 2021); the

Opinion and Order adopting this recommendation, Golden v. Google, No. 21-244, Docket No. 21

(D.S.C. Nov. 2, 2021); and the Court of Appeals’ opinion in Golden v. Apple Inc., Nos. 22-1229,

22-1267, 2022 WL 4103285 (Fed. Cir. 2022). The motion does not include any evidence to support

summary judgment.

1
 An identical paragraph appears in “Plaintiff’s Response to Defendant’s Motion to Strike and Plaintiff’s
Cross-Motion to Strike Defendant’s Motion to Strike.” Docket No. 19 at 9. If Mr. Golden means to file
two motions, this Court’s Civil Standing Order bars him from doing so. See id. ¶ 21.
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                                               ARGUMENT
I.     Plaintiff’s Motion Fails to Comply With This Court’s Local Rules
       The motion for summary judgment fails to comply with this Court’s local rules. “Motions for

summary judgment or summary adjudication and opposition to such motions must be noticed as

provided in Civil L.R. 7-2 and 7-3,” which in turn require compliance with Civil L.R. 7-4. Civil L.R.

56-1. Mr. Golden has not followed these requirements; among many other things, the “Cross-Motion for

Summary Judgement” does not include the required “succinct statement of the relevant facts” critical to

such a motion. Civil L.R. 7-4; see Docket No. 18 at 2-4; see generally Docket No. 18. Mr. Golden’s

failure to comply appears to be deliberate, since this Court warned him about these rules about six weeks

before the motion. Golden v. Intel Corp., No. 22-3838, Docket No. 20, slip op. at 1 (N.D. Cal. Sept. 14,

2022) (noting that Mr. Golden’s cross-motions for summary judgment did “not comply with the

procedural requirements of Civil Local Rules 56-1, 7-1, and 7-2.”). The Court should not countenance

repeated violations of its rules, but should deny the motion on this ground alone.

II.    Plaintiff’s Motion Fails to Include Any Evidence and Thus Fails to Prove Any Facts
       Even if the Court looks past its procedural failings, Mr. Golden’s motion for summary judgment

fails on its merits, not least because it fails to include any evidence and thus fails to prove any facts. Mr.

Golden asserts that “Plaintiff has shown that there is no genuine dispute as to any material fact.” Docket

No. 18 at 6. But Mr. Golden bears the burden of showing material facts, not Google, and by failing to

present any cognizable evidence, has failed to meet this burden.

       In deciding motions for summary judgment, courts consider “whether a jury could reasonably

find either that the plaintiff proved his case by the quality and quantity of evidence required by the

governing law or that he did not.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 254 (1986). “The

court shall grant summary judgment if the movant shows that there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). “A fact is

‘material’ if it ‘might affect the outcome of the suit under the governing law.’ And a dispute is

‘genuine’ if there is evidence in the record sufficient for a reasonable trier of fact to decide in favor of

the nonmoving party.” Racies v. Quincy Bioscience, LLC, No. 15-0292, 2016 WL 5746307, at *3 (N.D.

Cal. Sept. 30, 2016) (quoting Anderson, 477 U.S. at 248). “[I]n deciding if a dispute is genuine, the

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court must view the inferences reasonably drawn from the materials in the record in the light most

favorable to the nonmoving party,” and “may not weigh the evidence or make credibility

determinations.” Racies, 2016 WL 5746307, at *3 (citing Matsushita Elec. Indus. Co. v. Zenith Radio

Corp., 475 U.S. 574, 587-88 (1986); quoting Freeman v. Arpaio, 125 F.3d 732, 735 (9th Cir. 1997)).

        “The burden of establishing that there is no genuine issue of material fact lies with the moving

party.” Brit. Airways Bd. v. Boeing Co., 585 F.2d 946, 951 (9th Cir. 1978) (citing Mutual Fund Investors

v. Putnam Mgmt. Co., 553 F.2d 620, 624 (9th Cir. 1977); Doff v. Brunswick Corp., 372 F.2d 801, 805

(9th Cir. 1966), cert. denied, 389 U.S. 820 (1967)). The burden is a heavy one: “[a]s the party with the

burden of persuasion at trial,” a movant for summary judgment “must establish ‘beyond controversy

every essential element’” of his claims. Southern California Gas Co. v. City of Santa Ana, 336 F.3d 885,

888 (9th Cir. 2003) (quoting William W. Schwarzer, et al., California Practice Guide: Federal Civil

Procedure Before Trial § 14:124-127 (2001)); see Tuggle v. Kamara, No. 05-4142, 2007 WL 760596, at

*4 (N.D. Cal. Mar. 9, 2007) (“to prevail on a plaintiff's motion for summary judgment, the plaintiff must

show he wins on every element of his claim.”). “It is not enough to move for summary judgment

without supporting the motion in any way” or with only conclusory assertions. Celotex Corp. v. Catrett,

477 U.S. 317, 328 (1986) (White, J., concurring); see Fed. R. Civ. P. 56(c). Instead:

        A party asserting that a fact cannot be or is genuinely disputed must support the assertion by:
        (A) citing to particular parts of materials in the record, including depositions, documents,
        electronically stored information, affidavits or declarations, stipulations (including those made
        for purposes of the motion only), admissions, interrogatory answers, or other materials; or (B)
        showing that the materials cited do not establish the absence or presence of a genuine dispute, or
        that an adverse party cannot produce admissible evidence to support the fact.

Fed. R. Civ. P. 56(c)(1). Bald assertions are not evidence: “A plaintiff’s belief that a defendant acted

from an unlawful motive, without evidence supporting that belief, is no more than speculation or

unfounded accusation about whether the defendant really did act from an unlawful motive. To be

cognizable on summary judgment, evidence must be competent.” Carmen v. San Francisco Unified Sch.

Dist., 237 F.3d 1026, 1028 (9th Cir. 2001); see Flanagan v. City of Richmond, No. 14-2714, 2015 WL

5964881, at *20 n.9 (N.D. Cal. Oct. 13, 2015), aff’d, 692 F. App’x 490 (9th Cir. 2017) (“Plaintiff's

speculation that there is a causal link is insufficient”).



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       Mr. Golden’s motion for summary judgment plainly fails to meet this standard. The motion does

not identify what facts Mr. Golden contends are undisputed, let alone put forth any evidence—such as

“depositions, documents, admissions, electronically stored information, affidavits or declarations,

stipulations, interrogatories, or other materials”—to support those assertions. Fed. R. Civ. P. 56(c)(1);

see Carmen, 237 F.3d at 1028. Even when viewing Mr. Golden’s “Plaintiff’s Response to Defendant’s

Motion to Dismiss and Cross-Motion for Summary Judgement” as a whole—and considering the entire

document rather than just the section entitled “Summary Judgement: Pursuant to FRCP Rule 56”—the

motion still fails to meet this key requirement. Throughout this document, Mr. Golden makes only one

citation to the record in this case: to his own moving papers. Docket No. 18 at 1. Though Mr. Golden

argues issue preclusion, issue preclusion does not apply for the reasons Google explained in its

concurrently filed reply in support of its motion to dismiss, and, in any event, this reference does not

meet the requirements of Rule 56. Instead of addressing this case, plaintiff largely quotes at length from

other matters, submitting nothing relevant—and certainly no evidence—and thus failing to meet the

requirements of Rule 56. See Docket No. 18 at 1-4.

       The Court should therefore deny the motion for summary judgment. Mr. Golden’s motion fails
for the same reasons as the plaintiff’s motion in Robinson v. Doetwch, where this Court denied a pro se
plaintiff’s motion for summary judgment, because “Plaintiff has failed to meet his initial burden of
identifying those portions of the record that demonstrate the absence of a genuine dispute of material
fact such that no reasonable trier of fact could find other than for Plaintiff.” No. 18-3729, 2019 WL
6311417, at *2 (N.D. Cal. Nov. 25, 2019) (citing Celotex, 477 U.S. at 323). There, the plaintiff set
“forth no evidence demonstrating the absence of a genuine issue of material fact,” in his motion for
summary judgment, instead asserting that he had met the requirements to prevent the defendant “from
filing any documents ‘which purport[] to create a decision/order against the Plaintiff.’” Robinson 2019
WL 6311417, at *2 (citing Celotex, 477 U.S. at 323).
       Proper evidence in support of a Rule 56(c) motion includes depositions, documents, admissions,
       electronically stored information, affidavits or declarations, stipulations, interrogatories, or other
       materials, as well as affidavits or declarations based on personal knowledge and setting forth
       such facts as may be admissible in evidence. However, Plaintiff has failed to provide any such
       evidence with his summary judgment motion nor made any reference to other documents he may
       have filed in this Court.

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Robinson 2019 WL 6311417, at *2 (citing Fed. R. Civ. P. 56(c)). The same is true here. Because Mr.

Golden has neither identified the material facts in dispute nor supported his assertion that he has

established “that there is no genuine dispute as to any material fact,” by citations to the record or

otherwise, this Court should deny the motion for summary judgment. Docket No. 18 at 6; see Fed. R.

Civ. P. 56; Robinson, 2019 WL 6311417, at *2.

III.   Mr. Golden Cannot Shift His Burden to Google
       “The moving party bears the initial responsibility for informing the district court of the basis for

its motion and identifying those portions of the pleadings, depositions, interrogatory answers,

admissions and affidavits, if any, that it contends demonstrate the absence of a genuine issue of material

fact.” Smith v. City of Santa Clara, No. 11-3999, 2013 WL 164191, at *4 (N.D. Cal. Jan. 15, 2013),

aff’d, 876 F. 3d 987 (9th Cir. 2017) (citing Celotex, 477 U.S. at 323). “In order to carry its burden of

production, the moving party must either produce evidence negating an essential element of the

nonmoving party’s claim or defense or show that the nonmoving party does not have enough evidence of

an essential element to carry its ultimate burden of persuasion at trial.” Nissan Fire & Marine Ins. Co. v.

Fritz Cos., Inc., 210 F.3d 1099, 1102 (9th Cir. 2000) (citing High Tech Gays v. Def. Indus. Sec.

Clearance Office, 895 F.2d 563, 574 (9th Cir. 1990)).

       If a moving party fails to carry its initial burden of production, which refers to “the burden of

producing evidence, or showing the absence of evidence, on the motion for summary judgment,” then

“the nonmoving party has no obligation to produce anything, even if the nonmoving party would have

the ultimate burden of persuasion at trial.” Nissan Fire & Marine, 210 F. 3d at 1102-03 (citing Adickes

v. S.H. Kress & Co., 398 U.S. 144, 160 (1970)). “In such a case, the nonmoving party may defeat the

motion for summary judgment without producing anything.” Nissan Fire & Marine, 210 F. 3d at 1103

(citing High Tech Gays, 895 F. 2d at 574)); see also Walker v. Cnty. of Santa Clara, No. 04-2211, 2007

WL 1201789, at *4 (N.D. Cal. Apr. 23, 2007) (quoting Nissan Fire & Marine, 210 F.3d at 1102-03).

       Mr. Golden has failed to carry his initial burden. Instead of “citing to particular parts of

materials in the record,” or “showing that the materials cited do not establish the absence or presence of

a genuine dispute,” Mr. Golden simply states that he has conclusively shown that no genuine dispute as

to any material fact exists. Fed. R. Civ. P. 56(c)(1); see Docket No. 18 at 6. Clearly, this is insufficient

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under the mandates of the Federal Rules and established precedent. See, e.g., Fed. R. Civ. P. 56; Nissan

Fire & Marine, 210 F.3d at 1103; High Tech Gays, 895 F.2d at 574; Walker, 2007 WL 1201789, at *4.

                                            CONCLUSION
       For the reasons set forth above, the Court should deny plaintiff’s cross-motion for summary

judgment.2

Date: November 15, 2022                          Respectfully submitted,

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2
 Pending before the Court is Google’s Motion to Dismiss, Docket No. 11, which asks the Court to
dismiss the complaint in its entirety without leave to amend. Should the Court grant that motion, this
motion will be moot, and the Court can and should dispose of it on that ground.
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